     Case 2:22-cv-00054-SAB    ECF No. 37      filed 04/13/22   PageID.259 Page 1 of 4




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 3      (509) 456-3123

 4
                                        THE HONORABLE STANLEY A. BASTIAN
 5
                          UNITED STATES DISTRICT COURT
 6                       EASTERN DISTRICT OF WASHINGTON

 7         CHRISTOPHER-DAVID                                NO. 2:22-cv-00054-SAB
           COOMBES,
 8                                                          STATE DEFENDANTS’
                                  Plaintiff,                ANSWER AND
 9                                                          AFFIRMATIVE DEFENSES
                                v.                          AND JURY DEMAND
10
           CARRIE COOMBES; HENRY
11         RAWSON; VICTORIA MINTO;
           SHELLY LARSON;
12         CATHERINE HALEY; HENRY
           MATHIS, et al.,
13
                                Defendants.
14
15            Defendants, the woman; (unknown) who works at DCFS and the woman;

16      (unknown) Wood who acts as Child Protective Services (CPS) in answer to

17      Plaintiff's Complaint, hereby enter this general denial to the Complaint filed by

18      Plaintiff that initiated the present action. The general denial includes a denial of

19      Plaintiff’s allegations contained under each section of the Complaint, including the

20      Jurisdictional Basis, Statement of Case and Prayer for Relief.

21            By Way of FURTHER ANSWER and FIRST AFFIRMATIVE DEFENSE,

22      Defendants allege:

          STATE DEFENDANTS’                             1            ATTORNEY GENERAL OF WASHINGTON
                                                                                  Torts Division
          ANSWER AND AFFIRMATIVE                                          1116 West Riverside, Suite 100
          DEFENSES AND JURY                                                 Spokane, WA 99201-1106
                                                                                 (509) 456-3123
          DEMAND
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 1      1.     SERVICE OF PROCESS -that the summons and complaint were never
 2      properly served upon the Defendants.

 3      2.     JURISDICTION - that the Court lacks jurisdiction over the subject matter of

 4      this action.

 5      3.     CLAIM FILING – that, to the extent Plaintiff intends to make any claims

 6      under the laws of the State of Washington, the Plaintiff has failed to file a claim

 7      against the State of Washington as required by RCW 4.92.100 and .110.

 8      4.     RES JUDICATA - that Plaintiff’s action against these Defendants is barred

 9      by the doctrine of res judicata and/or collateral estoppel.

10      5.     FAILURE TO STATE A CLAIM - that the Plaintiff has failed to state a

11      claim upon which relief may be granted.

12      6.     ABSTENTION – that the Plaintiff’s action is barred by the doctrine of

13      abstention.

14      7.     ELEVENTH AMENDMENT IMMUNITY - that the Defendants, to the

15      extent they are sued in their official capacities, are not subject to civil suit for

16      damages under the Eleventh Amendment of the Constitution of the United States.

17      8.     YOUNGER ABSTENTION - that this action should be dismissed pursuant

18      to the Younger abstention doctrine.

19             WHEREFORE, Defendants pray that Plaintiff’s Complaint be dismissed

20      with prejudice and that Plaintiff take nothing by his Complaint and that Defendants

21      be allowed their costs and reasonable attorney fees herein.

22

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                                                                                   Torts Division
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 1             In the event this case proceeds to trial, Defendants demand that this case be
 2      tried to a jury.

 3             DATED this 13th day of April, 2022.

 4                                      ROBERT W. FERGUSON
                                        Attorney General
 5
 6                                       s/ Taylor Hennessey
                                        TAYLOR M. HENNESSEY, WSBA No. 54135
 7                                      Assistant Attorney General
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 8                                      Spokane, WA 99201-1106
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          STATE DEFENDANTS’                           3            ATTORNEY GENERAL OF WASHINGTON
                                                                                Torts Division
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 1                                  PROOF OF SERVICE
 2            I certify that I electronically filed a copy of this document using the

 3      CM/ECF filing system and that I sent a copy of such filing in the U.S. Mail to the

 4      non-ECF participant to the following:

 5               CHRISTOPHER-DAVID COOMBES
                 211 CREST ST.
 6               SOLDATNA, AK 99669

 7            I declare under penalty of perjury under the laws of the United States of

 8      America that the foregoing is true and correct.

 9            DATED this 13th day of April, 2022, at Spokane, Washington.

10
                                        s/ Jodi Gress
11                                     LEGAL ASSISTANT
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          STATE DEFENDANTS’                          4            ATTORNEY GENERAL OF WASHINGTON
                                                                               Torts Division
          ANSWER AND AFFIRMATIVE                                       1116 West Riverside, Suite 100
          DEFENSES AND JURY                                              Spokane, WA 99201-1106
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